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                                               BALLOT

PLEASE COMPLETE THE FOLLOWING:

ONE BEACON          AMERICA           INSURANCE InreW. R. Grace&Co.,etaL
COMPANY                                         Case No. 01-01139 (YFK)
DRINKER BIDDLE & REATH LLP
DAVID P PRIMACK                                        Class 6 Asbestos PI Claims
i 1 O0 N MARKET ST, STE 1000                           (Indirect PI Trust Claims)
WILMINGTON, DE 19801-1254

Please read the instructions accompanying this Ballot before completing the Ballot. Print Clearly.

Item 1.     PRINCIPAL AMOUNT OF INDIRECT PI TRUST CLAIM. Amount of your claim for
            voting purposes only: $1.00.
Item 2.     VOTE ON THE PLAN. The undersigned Holder of the hdircet PI Trust Claim in the
            amount set forth in Item 1 hereby votes all of its Claim to (check one box only):
            ACCEPT the Plan I||IH|IilII|I|IHH|OI
            REmCT the Plan 1||IlgllHIUHI~B|iH~
Please note: If you vote to accept the Plan, you will be deemed to have given the specific releases set
forth in Section 8.8.7 of the Plan.
Item 3. TELEPHONE NUMBER / AUTHORIZATION
Telephone Number:

Name of Signatory (if different from clMmant):

If by Authorized Agent, Title or Agent:
Item 4.     ACKNOWLEDGEMENTS AND CERTIFICATIONS. By signing and returning this
            Ballot, you make the following aeknowledgcmants and cortifieatiuns:
O)          I have been provided with a copy of the Plan, the Disclosure Statement, the Exhibit Book, the
            Voting Procedures, and the exhibits thereto; and
(ii)        I was the Holder of an indirect PI Trust Claim, as defined in the Plan, as of the Voting Record
            Date or I have the authority, under applicable law, to vote to accept or reject the Plan on
            behalf of a Holder of an Indirect PI Trust Claim as of the Voting Record Date.
Item 5. SIGNATURE AND DATE:
Signature of Claimant or Authorized Agent                                                  Date

Item 6. ADDRESS CORRECTIONS, IF ANY (PRINT CLEARLY)


Address 1

Address 2
CiW, State and ZIP Code (US)




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                                                 BALLOT

PLEASE COMPLETE THE FOLLOWING:

ONE BEACON        AMERICA               INSURANCE _rn re W,, R. Grnce & Co., et al.
COMPANY                                           Case No. 01-01139 (JFK)
DRINKER BIDDLE & REATH LLP
DAVID P PRIMACK                                          Class 9 General Unsecured Claims
1100 N MARKET ST, STE 1000
WILMINGTON. DE 19801-1254

Please read the instrnetions accompanying this Ballot before completing the Ballot. Print Clearly.
Item 1.     PRINCIPAL AMOUNT OF GENERAL UNSECURED CLAIM. The undersigned
             certifies that as of March 11, 2009 (the"’Voting Record Date"), the undersigned was the
             Holder, or had the authority to vote for the Holder, of a General Unsecured Claim in the
             amount set forth below.
             Amount of your claim for voting purposes only: $ 1.00.
Item 2.      VOTE ON TIt?E PLAN. The undersigned Holder of the General Unsecured Claim in the
             amount set forth in Item I hereby votes ~ of its Claim to (check one box anly):
             [] ACCEPT the Plan I~$HHI[|||HW|IH
             [] R3E;rECT the Plan
Please note: lfyou vote to accept the Plan, you will be deemed to have given the specific releases set
forth in Section 8.8.7 of the Plan.
Item 3. TELEPHONE NUMBER / AUTHORIZATION

Telephone Number:

Name of Signatory (if different f~om claimant):

if by Authorized Agent, Titie or Agent:
Item 4.      ACKNOWLEDGEMENTS AND CERTIFICATIONS. By signing and returaing this
             B~llot, you make the following acknowledgements and certifications:
(i)          I have been provided with a copy of the Plan, the Disclosure Statement, the Exhibit Book, the
             Voting Procedures, and the exhibits thereto; and
             I was the Holder of a General Unsecured Claim, as defined in the Plan, as of the Voting
             Reeurd Date or I have the authority, under applicable law, to vote to accept or reject the Plan
             on behalf of a Holder of a General Unsecured Claim as of the Voting Record Date.
Item 5.     SIGNATURE AJND DATE:

Signature of Claimant or Authorized Agent                                                  Date
Item 6. ADDRESS CORRECTIONS, 1F ANY (PRINT CLEARLY)

Name

Address 1

Address 2
City, State and ZIP Code (US)
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